Revised 02/04
                                                               United States Bankruptcy Court
                                                       Eastern District of Michigan-Northern Division
 In re      Dome Corporation of North America                                                             Case No.
                                                                                  Debtor(s)               Chapter    7



                                                         STATEMENT OF DEBTOR REGARDING
                                                              CORPORATE OWNERSHIP


            The following entities directly or indirectly own 10% or more of any class of the debtor's equity interest:


               Name:
               Address:

            (For additional names, attach an addendum to this form)

            There are no entities that directly or indirectly own 10% or more of any class of the debtor's equity
            interest.

                        I declare under penalty of perjury that the foregoing is true and correct.


 Dated:        April 24, 2020                                        /s/ Ross Lake
                                                                     Signature of Authorized Individual
                                                                     For Corporation Debtor



                                                                     Ross Lake
                                                                     Print Name



                                                                     President
                                                                     Title




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